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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                                     May 19, 2014


     Clerk
     United States Court of Appeals for the Tenth
     Circuit
     Byron White Courthouse
     1823 Stout Street
     Denver, CO 80257


           Re: Walter T. Lacey, Jr.
               v. Homeowners of America Insurance Company
               No. 13-8396
               (Your No. 13-6129)


     Dear Clerk:

           The Court today entered the following order in the above-entitled case:

           The petition for rehearing is denied.



                                            Sincerely,




                                            Scott S. Harris, Clerk
